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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RALANDA WEBB,                                       )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )      17-cv-06578
              Plaintiff,                            )
                                                    )
              v.                                    )
                                                    )
SPRITE ENTERTAINMENT, INC.,                         )
doing business as ANIMATION SHARKS,                 )
and JOHN DOES 1-10,                                 )
                                                    )
              Defendants.                           )

                                    NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Ralanda Webb, voluntarily dismisses

her individual claims without prejudice and without costs against defendant Sprite

Entertainment, Inc. d/b/a Animation Sharks. Plaintiff Ralanda Webb voluntarily dismisses her

class claims against Sprite Entertainment, Inc. d/b/a Animation Sharks without prejudice and

without costs. Plaintiff Ralanda Webb voluntarily dismisses her claims against John Does 1-10

without prejudice and without costs.


                                            Respectfully submitted,

                                            s/ Dulijaza Clark
                                            Dulijaza (Julie) Clark


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                                CERTIFICATE OF SERVICE

       I, Julie Clark, certify that on September 25, 2017, or as soon thereafter as service may be
effectuated, I caused a true and accurate copy of the foregoing document to be served, via US
Mail, on the following parties:


        Michael J. Lohnes
        Katten Muchin Rosenman, LLP
        525 W. Monroe St.
        Chicago, IL 60661-3693

                                                     s/ Dulijaza Clark
                                                     Dulijaza (Julie) Clark




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